Case 2:12-cv-03423-SJO-VBK Document 65-1 Filed 05/29/13 Page 1 of 8 Page ID #:709




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 8
 9   Attorneys for Plaintiff
     JIM MARSHALL PHOTOGRAPHY LLC
10
11                          UNITED STATES DISTRICT COURT
12                        CENTRAL DISTRICT OF CALIFORNIA
13
14   JIM MARSHALL PHOTOGRAPHY                     Case No. CV 12-03423 SJO (VBKx)
     LLC, a California Limited Liability          Filed: April 20, 2012
15   Company,                                     Honorable S. James Otero
16                      Plaintiff,
          vs.                                     PLAINTIFF’S STATEMENT OF
17
                                                  UNCONTROVERTED FACTS AND
18   THIERRY GUETTA; IT’S A                       CONCLUSIONS OF LAW IN
     WONDERFUL WORLD, INC., a                     SUPPORT OF MOTION FOR
19
     California corporation; GOOGLE, INC., a      SUMMARY ADJUDICATION RE
20   Delaware corporation, and DOES 1             COPYRIGHT INFRINGEMENT
21
     through10, inclusive,
                                                  Time: 10:00 a.m.
22                     Defendants.                Date: July 1, 2013
23                                                Place: Courtroom 1 – 2nd Floor
24   TO THE HONORABLE COURT, DEFENDANTS AND THEIR ATTORNEYS

25   OF RECORD:

26         Pursuant to Local Rule 56-1, Plaintiff JIM MARSHALL PHOTOGRAPHY

27   LLC submits the following statement of uncontroverted material facts and conclusions
28   of law filed concurrently with its Motion for Summary Judgment:

                                           1
                    PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS
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 1                     STATEMENT OF UNCONTROVERTED FACTS
 2
 3    No.             Uncontroverted Fact                       Evidence
 4    1.    Jim Marshall Photography LLC owns the   Declaration of Amelia Davis
 5
            following original photograph of the    (“Decl. Davis”) ¶¶ 3-5; Deposition
 6
            musician John Coltrane:                 of Amelia Davis (“Davis Depo.”)
 7
                                                    at 132:15-22
 8
 9
10
11
12
13
14    2.    Jim Marshall Photography LLC owns the   Decl. Davis ¶¶ 3-5; Davis Depo. at
15          following original photograph of the    134:3-10
16          musician Sonny Rollins:
17
18
19
20
21
22
23
      3.    Jim Marshall Photography LLC owns the   Decl. Davis ¶¶ 3-5; Davis Depo. at
24
            following original photograph of the    135:8-13
25
26
            musicians Thelonious Monk, Dizzy

27          Gillespie and Gerald Wilson:

28

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                     PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS
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 1    No.             Uncontroverted Fact                         Evidence
 2
 3
 4
 5
 6
 7
      4.    Jim Marshall Photography LLC owns the     Decl. Davis ¶¶ 3-5; Davis Depo. at
 8
            following original photograph of the      136:6-9
 9
            musician Stanley Turrentine:
10
11
12
13
14
15
16    5.    Jim Marshall Photography LLC owns the     Decl. Davis ¶¶ 3-5; Davis Depo. at
17          following original photograph of the      139:9-11
18
            musician Jimi Hendrix:
19
20
21
22
23
24
25    6.    Jim Marshall Photography LLC owns the     Decl. Davis ¶¶ 3-5; Davis Depo. at

26          following original photograph of the      136:24-137:2
27          musicians Jimi Hendrix and Brian Jones:
28

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                     PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS
Case 2:12-cv-03423-SJO-VBK Document 65-1 Filed 05/29/13 Page 4 of 8 Page ID #:712




 1    No.              Uncontroverted Fact                           Evidence
 2
 3
 4
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 6
 7
      7.    The above Photographs of John Coltrane       Decl. Davis ¶ 6; Davis Depo. at
 8
            (SUF 1), Sonny Rollins (SUF 2),              132:15-136:19
 9
            Thelonious Monk, Dizzy Gillespie and
10
            Gerald Wilson (SUF 3), and Stanley
11
            Turrentine (SUF 4) were first published in
12
13
            Jim Marshall: Jazz, in 2005.

14    8.    Jim Marshall: Jazz was registered by Jim     Decl. Linde ¶ 2, Exhibit 1; Davis

15          Marshall with the United States Copyright    Depo. at 132:15-136:19
16          Office in 2005 and assigned the U.S.
17          Copyright Registration Number VA 1-
18          365-079.
19    9.    The above Photograph of Jimi (SUF 5)         Decl. Davis ¶ 7; Davis Depo. at
20          was published in Not Fade Away: The          136:24-139:19
21          Rock & Roll Photography of Jim Marshall
22          in 1997.
23    10. Not Fade Away: The Rock & Roll                 Decl. Linde ¶ 3, Exhibit 2; Davis
24
            Photography of Jim Marshall was              Depo. at 136:24-139:19
25
            registered by Jim Marshall with the United
26
            States Copyright Office in 2004 and
27
            assigned the U.S. Copyright Registration
28

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                       PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS
Case 2:12-cv-03423-SJO-VBK Document 65-1 Filed 05/29/13 Page 5 of 8 Page ID #:713




 1    No.              Uncontroverted Fact                            Evidence
 2          Number TX 6-031-402.
 3    11. Jim Marshall was the sole author of these       Decl. Davis ¶¶ 3-4
 4          photographs, including selecting the
 5
            subject matter, angle of photographs,
 6
            lighting, composition, framing and
 7
            determination of the precise time of taking
 8
            the photograph.
 9
      12. Neither Jim Marshall nor Jim Marshall           Decl. Davis ¶¶ 8-9
10
            Photography LLC authorized Defendants
11
            to make, reproduce, sell, offer to sell,
12
            distribute or display any reproduction or
13
            use of any of these photographs.
14
15
      13. The Guetta Defendants had access to the         Defendants’ Response To

16          photographs above on the internet.            Requests For Admission 19-25;

17                                                        Answer to SAC ¶ 19. Defendant’s
18                                                        Response to Plaintiff’s
19                                                        Interrogatories, Set One, No. 9
20    14. The Guetta Defendants created and               Defendants’ Response to
21          displayed this work:                          Interrogatories 1; Answer to SAC
22                                                        ¶ 23; Guetta Declaration,¶ 2
23                                                        [Docket No. 63-3].
24
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                      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS
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 1    No.             Uncontroverted Fact                           Evidence
 2    15. The Guetta Defendants created, displayed,     Defendants’ Response to
 3          and sold this work:                         Interrogatories 1-2; Defendants’
 4                                                      Response To Request For
 5
                                                        Admission 14; Answer to SAC ¶
 6
                                                        24; Guetta Declaration,¶ 4
 7
                                                        [Docket No. 63-3].
 8
 9
10
      16. The Guetta Defendants created, displayed      Defendants’ Response to
11
            and sold this work:                         Interrogatories 1-2; Defendants’
12
                                                        Response To Requests For
13
14
                                                        Admission 15; Answer to SAC ¶

15                                                      25; Guetta Declaration,¶ 5

16                                                      [Docket No. 63-3].
17
18
      17. The Guetta Defendants created and             Defendants’ Response to
19
            displayed this work:                        Interrogatories 1; Answer to SAC
20
                                                        ¶ 26; Guetta Declaration,¶ 3
21
                                                        [Docket No. 63-3].
22
23
24
25
26    18. The Guetta Defendants built or designed       Defendants’ Response to
27          the backdrop depicted on the wall in this   Interrogatory 1; Defendants’
28

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                     PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS
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 1    No.             Uncontroverted Fact                          Evidence
 2          photograph:                                Response To Requests For
 3                                                     Admission 18; Answer to SAC ¶
 4                                                     31; Guetta Declaration,¶ 7
 5
                                                       [Docket No. 63-3].
 6
 7
 8    19. The Guetta Defendants created, displayed,    Defendants’ Response to
 9          offered for sale and sold this work:       Interrogatories 1-2; Defendants’
10                                                     Response To Requests For
11
                                                       Admission 17; Answer to SAC ¶
12
                                                       27; Guetta Declaration,¶ 6
13
                                                       [Docket No. 63-3].
14
15
16
17    20. The above Photograph of Jimi Hendrix         Decl. Davis ¶ 9
18          and Brian Jones (SUF 6) was published in
19          Monterey Pop in 1992.
20    21. Monterey Pop was registered with the         Decl. Linde ¶ 9, Exhibit 8
21          United States Copyright Office in 1992
22          and assigned the U.S. Copyright
23          Registration Number VA 521-027.
24   ///
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     ///
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                      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS
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 2   Dated: May 29, 2013          LAW OFFICES OF LAWRENCE G. TOWNSEND
                                  THE LINDE LAW FIRM
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 4
                                  By: __/s/ Erica A. Gonzales_______________
 5                                Lawrence G. Townsend
 6                                Douglas A. Linde
                                  Erica L. Allen
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                                  Attorneys For Plaintiff,
 8                                JIM MARSHALL PHOTOGRAPHY LLC
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                   PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS
